Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 1 of 15                     PageID #: 74




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


 PATRICIA GRIFFIN,                              )
                                                )
                Plaintiff,                      )
        v.                                      )       Case No. 2:22-cv-00212-JDL
                                                )
 UNIVERSITY OF MAINE SYSTEM, et                 )
 al.,                                           )
                                                )
                Defendants.                     )

                    DEFENDANTS’ PARTIAL MOTION TO DISMISS
                  PLAINTIFF’S FIRST AMENDED COMPLAINT WITH
                     INCORPORATED MEMORANDUM OF LAW
       Defendants University of Maine System and Glenn Cummings (collectively “Defendants”

or “UMS”), by and through undersigned counsel, move pursuant to Rules 12(b)(1) and 12(b)(6)

of the Federal Rules of Civil Procedure to dismiss Counts I-II of Plaintiff Patricia Griffin’s

(“Plaintiff”) First Amended Complaint (ECF No. 15) (the “Amended Complaint”), as well as her

request for certain remedies under Title VII of the Civil Rights Act of 1964 (“Title VII”) and the

Maine Human Rights Act (“MHRA”).

       Following UMS’ Partial Motion to Dismiss (ECF No. 13), Plaintiff filed her Amended

Complaint, in which she dropped her Maine Whistleblowers’ Protection Act (“MWPA”) claim,

formerly Count III of the Complaint and asserted certain prerequisites of 5 M.R.S.A.§ 4622

regarding her MHRA claim. See Compl. ¶¶ 14, 16, 45 (ECF No. 1); Am. Compl. ¶¶ 55-56. Outside

of these changes, the Amended Complaint’s factual allegations are essentially identical to the

factual allegations in the original Complaint.      Moreover, Plaintiff’s two additional factual

allegations, Am. Compl. ¶¶ 17, 41, do not alter the fact that Counts I-II fail on multiple grounds

and that Plaintiff is precluded as a matter of law from recovering punitive damages under Title VII


                                                    1
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 2 of 15                          PageID #: 75




and the MHRA. Accordingly, the instant motion moves for dismissal on many of the same grounds

previously articulated, albeit modified to reflect the Amended Complaint’s reordered factual

allegation paragraphs and current Counts.

        As before, with respect to Plaintiff’s First Amendment retaliation claim (Count I of the

Amended Complaint) brought pursuant to 42 U.S.C. § 1983, this claim fails because Plaintiff did

not speak as a citizen on a matter of public concern with respect to her alleged protected activity.

Rather, Plaintiff spoke within the scope of her role as a UMS employee. Moreover, with respect

to Plaintiff’s constitutional claims—under the First Amendment and the Due Process and Equal

Protection clauses of the Fourteenth Amendment—these claims fail because UMS is not a

“person” as necessary to state a claim under § 1983 and because UMS is otherwise immune under

the Eleventh Amendment as an arm of the state of Maine. Likewise, Count I of the Amended

Complaint fails as to Defendant Glenn Cummings (“Cummings”) in his official capacity because

state officials sued in their official capacity are treated as the state for purposes of § 1983 and thus,

are not a “person” for purposes of a § 1983 claim. Further, the Amended Complaint does not

allege an ongoing constitutional harm with respect to Cummings. Additionally, as to the claims

against Cummings in his personal capacity, Cummings is entitled to qualified immunity. For all

of these reasons, Counts I and II of the Amended Complaint should be dismissed.

        Plaintiff’s request for punitive damages under Title VII and the MHRA also must be

dismissed because those statutes both expressly preclude the recovery of punitive damages against

UMS as a government entity.




                                                       2
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 3 of 15                                    PageID #: 76




                                            Factual Background1

        Plaintiff served as a Professor of Marketing at the University of Southern Maine (“USM”)

and was an employee of USM and UMS from early 2015 until September 24, 2021. Am. Compl.

¶¶ 6, 11, 36. Cummings is the former president of USM. Id. ¶ 9. At all relevant times during her

employment with UMS, Plaintiff was subject to UMS’ Environmental and Safety Policy. See

Exhibit 1. That policy states that UMS will “[d]evelop, implement, and continuously improve

environmental health and safety programs that eliminate safety hazards, [and] encourage safe work

practices,” and directs the UMS Chancellor “to take actions necessary to assure that all units of

the University of Maine System are in compliance with this policy . . . .” Id.

        On August 18, 2021, UMS implemented a masking policy (the “Policy”). Am. Compl. ¶

13.2 The Policy required “face coverings indoors in all university facilities at least through the end

of September.” Exhibit 2. The Policy also contemplated allowing “faculty and other instructors

or presenters to temporarily remove a face covering while speaking or presenting in classrooms or

presentation venues in which enhanced social distancing may be possible.” Id. (emphasis added).

        On August 24, 2021, Cummings spoke at a luncheon that Plaintiff attended via Zoom. Am.

Comp. ¶¶ 14-15. “Despite the mask mandate, Cummings did not wear a facemask.” Id. ¶ 15. That

same day, Plaintiff “sent an E-mail to Joanne Williams, Dean of the College of Management and

Human Service, requesting data to support the mask mandate and providing studies showing that

masks are ineffective at combating COVID- 19.” Id. ¶ 16. In her email, with the subject line

“addressing the current USM mandates,” Plaintiff stated that her “own research” found no



1
           UMS recites only those material, well-plead factual allegations for purposes of this Motion. UMS strongly
disputes Plaintiff’s factual allegations and her claims that it has done anything improper or illegal with respect to
Plaintiff.
2
           While the Amended Complaint indicates the Policy began on this date, throughout the COVID-19 Pandemic,
UMS has relied upon scientific guidance from the federal and state Centers for Disease Control to inform all of its
COVID-19 policies and continues to do so.

                                                              3
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 4 of 15                     PageID #: 77




evidence to support that “wearing a mask while indoors as well as vaccinating an entire school

population as the optimal method for stopping the transmission of . . . .” Covid-19. Exhibit 3.

Plaintiff noted that she “love[s] teaching at USM.” Id. Plaintiff also stated she “wanted to share

the information I gathered and relied upon when making my decision regarding these mandates

before the start of classes next Monday to see that my decisions are science, evidence, and data

based.” Id. She further stated, “[h]owever, I do not want to cause any issues, especially for you,

if I come to campus on Monday morning to teach my one face to face class so I wanted to give

you enough time.” Id. Along with that email, Plaintiff included a letter outlining her thoughts on

the Policy and her “research” into the efficacy of masking to combat Covid-19. See Exhibit 4. In

that letter, Plaintiff asserted “[i]t is a myth that masks prevent viruses from spreading” and that

Director of the National Institute of Allergy and Infectious Diseases Dr. Anthony Fauci was

“intentionally misleading the public” regarding the efficacy of Covid-19 vaccines. Id. at 1-2.

Moreover, Plaintiff claimed that Cummings “created a hostile work environment” by allegedly

mocking those who did not support “the University’s groupthink regarding SARS-CoV-2.” Id. at

3.

       The next day, Dean Williams met with Plaintiff. Am. Compl. ¶ 18. During this meeting,

Plaintiff “reiterated her request for data supporting the implementation of the mask mandate [and

asserted] that Cummings had violated the Policy by not wearing a mask during the luncheon.” Id.

¶¶ 18-19. According to Plaintiff, she did not state she would not follow the Policy. Id. ¶ 20.

Following this meeting, Plaintiff’s “courses were removed.” Id. ¶ 21.

       “On August 27, 2021, a pre-disciplinary conference was held, via Zoom, and attended by

Dean Williams, Megan Schratz, Griffin, and Paul Johnson [and Plaintiff] repeated her requests for

data supporting the mask mandate.” Id. ¶¶ 22-23. “During the meeting, Griffin was further told



                                                    4
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 5 of 15                         PageID #: 78




that she was not allowed to teach courses 100% online during the meeting.” Id. ¶ 24. Plaintiff

vaguely states in the Amended Complaint, without more, that “other male professors were allowed

to teach their classes 100% online.” Id.

       “On September 8, 2021, Cummings sent Griffin a letter suspending her employment and

moving to terminate her employment.” Id. ¶ 26. Plaintiff alleges that “Cummings[’] Letter was

in retaliation for Griffin speaking out against the Policy and for requesting information on the

Policy.” Id. ¶ 30. On September 22, 2021, a hearing was held but Plaintiff opted not to attend.

Id. ¶¶ 31, 35. Plaintiff did not feel “comfortable” attending the meeting because Cummings would

be present, and she had claimed that he had created a hostile work environment. Id. ¶¶ 32-34.

After the hearing, UMS terminated Plaintiff’s employment. Id. ¶ 36.

                                           Legal Standard

       Rule 12(b)(1) is the proper means for challenging a court’s subject matter jurisdiction with

respect to sovereign immunity. See Valentin v. Hosp. Bella Vista, 254 F.3d 358, 362 (1st Cir.

2001). Similar to a motion brought pursuant to Rule 12(b)(6), when assessing a motion brought

under Rule 12(b)(1), the Court “credits the plaintiff's well-pled factual allegations and draws all

reasonable inferences in the plaintiff’s favor.” Merlonghi v. United States, 620 F.3d 50, 54 (1st

Cir. 2010). Importantly, “[t]he district court may also ‘consider whatever evidence has been

submitted, such as the depositions and exhibits submitted.’” Perna v. Martinez, No. cv 17-11643-

IT, 2018 WL 4519361, at *2 (D. Mass. July 5, 2018), report and recommendation adopted, No.

17-cv-11643-IT, 2018 WL 4092073 (D. Mass. Aug. 28, 2018).

       To survive a motion to dismiss for failure to state a claim, “a complaint must contain

sufficient factual matter . . . to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). While the Court generally cannot consider



                                                       5
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 6 of 15                        PageID #: 79




documents outside of a complaint when reviewing a motion to dismiss, it may consider documents

when the authenticity of the document is not disputed; official public records; documents central

to Plaintiff’s claims; or documents sufficiently referred to in the complaint. See Carrero-Ojeda v.

Autoridad de Energia Electrica, 755 F.3d 711, 716-17 (1st Cir. 2014). These documents merge

into the pleadings. See Alt. Energy Inc. v. St. Paul Fire and Marine Ins., Co., 267 F.3d 30, 33 (1st

Cir. 2001). The attached exhibits to this Motion squarely fit within these recognized categories

given that they are either documents whose authenticity cannot be disputed or are documents

central to Plaintiff’s claims or directly referred to in the Amended Complaint.

                                              Argument
1. Count I of the Amended Complaint Fails as a Matter of Law Because Plaintiff’s Alleged
   Protected Conduct Occurred Within the Scope of Her Employment, not as a Citizen on
   a Matter of Public Concern
       Plaintiff fails to plausibly state a claim for First Amendment retaliation because she was

not speaking out as a citizen on a matter of public concern, a requirement for establishing such a

claim. See Garcetti v. Ceballos, 547 U.S. 410, 417 (2006). Perhaps recognizing the futility of her

claim, the Amended Complaint now includes a conclusory factual allegation that “Plaintiff was

not employed to comment on the Mask Mandate and her comments on the Mask Mandate did not

fall under her job duties as a marketing professor.” Am. Compl. ¶ 41. Putting aside that this is an

improper conclusory allegation, see Hernandez-Cuevas v. Taylor, 723 F.3d 91, 102 (1st Cir. 2013)

(citation omitted), the allegation is premised on an erroneous view of the relevant inquiry for

determining whether an individual was speaking as an employee or as a public citizen. Under the

proper inquiry, and given the relevant facts at issue, Plaintiff’s claim fails.

        “A government entity has broader discretion to restrict speech when it acts in its role as

employer, but the restrictions it imposes must be directed at speech that has some potential to affect

the entity’s operations.” Curran v. Cousins, 509 F.3d 36, 45 (1st Cir. 2007) (citation omitted).

                                                       6
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 7 of 15                       PageID #: 80




Although “[p]ublic employees do not lose their First Amendment rights to speak on matters of

public concern simply because they are public employees . . . those rights are not absolute [and as

such,] the First Amendment protects a public employee’s right, in certain circumstances, to speak

as a citizen addressing matters of public concern.” Id. (citation omitted). “In order to succeed on

a First Amendment retaliation claim, a party must show that her conduct was constitutionally

protected, and that this conduct was a substantial factor or . . . a motivating factor driving the

allegedly retaliatory decision.” Gorelik v. Costin, 605 F.3d 118, 123 (1st Cir. 2010) (citation and

internal alternations omitted). “[P]ublic employees do not speak as citizens when they ‘make

statements pursuant to their official duties,’ and . . . accordingly, such speech is not protected by

the First Amendment.” Decotiis v. Whittemore, 635 F.3d 22, 30 (1st Cir. 2011) (quoting Garcetti,

547 U.S. at 421). This inquiry is a question of law for the Court. Curran, 509 F.3d at 45.

       Whether a public employee is speaking as an employee rather than as a citizen is a two-

step analysis. The Court: (1) examines the employee’s official responsibilities in a practical sense,

meaning those duties or responsibilities the employee is expected to have, in addition to any listed

duties or responsibilities, and (2) determines whether the speech at issue was made pursuant to

those responsibilities. See Decotiis, 635 F.3d at 31-32 (citation omitted). Whether the speech at

issue is made as part of one’s employment duties or responsibilities is context driven, and the Court

considers various factors as part of this analysis, including: “the subject matter of the speech,

whether the speech was made up the chain of command, whether the employee spoke at her place

of employment . . . .” Id. at 32. This inquiry is not formalistic and is not limited to formal job

descriptions or official duties but instead is a practical exercise whereby courts look at the

functional obligations an employee inherently has. See Garcetti, 547 U.S. at 425; Renken v.

Gregory, 541 F.3d 769, 773 (7th Cir. 2008) (professor’s complaint about difficulties in



                                                     7
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 8 of 15                        PageID #: 81




administering an educational grant was considered speaking as a faculty employee because the

grant, though not necessarily a formal job requirement, was “for the benefit of students” and

therefore “aided in the fulfillment of his teaching responsibilities.”).

       Here, Plaintiff’s alleged First Amendment activity is predicated on her “speaking out

against [UMS’] Policy and . . . requesting information on the policy.” Am. Compl. ¶¶ 30, 39. The

record illustrates that Plaintiff was not speaking out as a citizen on a matter of public concern, but

rather as an employee contesting her employer’s policy for purposes of regulating her conduct

within her classroom: the workplace. As a result, Plaintiff fails to plausibly allege a claim for First

Amendment retaliation.

       It is axiomatic that as an employee of UMS, Plaintiff’s duties and responsibilities in a

practical sense included compliance with UMS policies and rules. As an employee and teacher

for UMS, Plaintiff’s obligations and responsibilities included complying with her employer’s

workplace policies. See Weintraub v. Bd. of Educ. of City Sch. Dist. of City of New York, 593 F.3d

196, 202 (2d Cir. 2010) (relevant inquiry is whether the speech was “furtherance of such duties.”);

Cruz v. Puerto Rico Power Auth., 878 F. Supp. 2d 316, 324 (D.P.R. 2012). Indeed, UMS’

environmental and safety policy directs all employees to comply with UMS’ environmental and

safety policies and/or the Chancellor’s directives. Exhibit 1. The Policy at issue focused on

wearing face coverings in university “classrooms and other indoor spaces,” i.e., conduct within

USM’s facilities and for teaching classes. Exhibit 2. Plaintiff sent an email challenging the

efficacy of UMS’ Policy from her UMS email account to one of her USM supervisors—Dean

Williams. See Exhibit 3. Plaintiff’s email was also about her concerns for the Policy in relation

to the “school population.” Id. This email also was not made public, nor was it concerned about

the general public. Id.; Bruce v. Worcester Reg’l Transit Auth., 34 F.4th 129, 136–37 (1st Cir.



                                                      8
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 9 of 15                        PageID #: 82




2022) (noting that speaking to a supervisor on matters of employment illustrates activity as an

employee). In fact, the subject line of Plaintiff’s email was about addressing her employer’s

policy. See id.; Garcetti, 547 U.S. at 421 (stating concern with terms of employment indicates

speaking as an employee).

       Moreover, a review of Plaintiff’s August 24, 2021 email illustrates that its principal

purpose was to: (1) question the necessity of requiring face coverings to teach face-to-face classes

at USM; (2) alert Dean Williams about her disagreement with the Policy; and (3) give Dean

Williams “enough time” as her supervisor to address any scheduling complications that would

arise for her face-to-face course the following Monday. See Exhibit 3. Plaintiff’s communications

to Dean Williams are those of an employee contesting her employer’s rules and policies, not an

activity of speaking as a citizen on a matter of public concern. See Garcetti, 547 U.S. at 422.

Similarly, Plaintiff does not include any specific factual allegations that plausibly support that her

disagreements with her employer’s Policy were lodged as a citizen and not an employee.

       Accordingly, Count I of the Amended Complaint should be dismissed.

2. Counts I and II of the Amended Complaint Should be Dismissed Because Defendants are
   not “Persons” as Required Under § 1983 and are Otherwise Immune

       a. Plaintiff’s Constitutional Claims Fail Against UMS and Cummings in His Official
          Capacity Because Neither is a “Person” as Required for Purposes of § 1983, and
          UMS and Cummings in his Official Capacity are Otherwise Immune Under the
          Eleventh Amendment

       Counts I and II of the Amended Complaint are brought pursuant to § 1983. See Am. Compl.

¶¶ 2, 38, 45-47. Section 1983 creates a private right of action through which plaintiffs may recover

against state actors for constitutional violations. See Rehberg v. Paulk, 566 U.S. 356, 361 (2012).

However, a § 1983 claim is only authorized against “persons,” which does not include a State or

arms of the State or state officials acting in their official capacities. See Will v. Michigan Dep’t of


                                                      9
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 10 of 15                            PageID #: 83




State Police, 491 U.S. 58, 71 (1989). Moreover, § 1983 does not revoke a recognized immunity,

like sovereign immunity, unless specifically abrogated. Comfort ex rel. Neumyer v. Lynn Sch.,

131 F. Supp. 2d 253, 255 (D. Mass. 2001) (“Congress has not abrogated sovereign immunity as a

defense to claims under 42 U.S.C. §§ 1981 and 1983”). States and state entities are generally

immune from suit under the Eleventh Amendment. See Quern v. Jordan, 440 U.S. 332, 340

(1979).

          Here, given that UMS is an arm of the state of Maine, and that Cummings was a state

official acting in his official capacity, Counts I and II of the Amended Complaint fail against UMS,

and Count I of the Amended Complaint fails against Cummings in his official capacity. UMS is

an instrumentality and agency of the state of Maine. See 20-A M.R.S.A. § 10903; Lockridge v.

Univ. of Maine Sys., 2009 WL 1106529, at *21 (D. Me. Apr. 23, 2009) (stating that the University

is “part of the state for purposes of Section 1983”). Indeed, the Amended Complaint acknowledges

this fact. Am. Compl. ¶ 7. As a result, neither UMS nor Cummings acting in his official capacity

are a “person” for purposes of § 1983 suit. Fantini v. Salem State Coll., 557 F.3d 22, 33 (1st Cir.

2009) (“it is well settled that neither a state agency nor a state official acting in his official capacity

may be sued for damages in a section 1983 action”) (emphasis added); Wang v. New Hampshire

Bd. of Registration in Medicine, 55 F.3d 698, 701 (1st Cir. 1995) (“neither the state nor its ‘alter

ego’ (state university) is a ‘person’ for section 1983 purposes, [and] neither is subject to suit under

section 1983”) (citation omitted).

          Moreover, an entity that is an “arm of the state” is entitled to sovereign immunity under

the Eleventh Amendment. See Irizarry-Mora v. Univ. of Puerto Rico, 647 F.3d 9, 12 (1st Cir.

2011); Johnson v. Rodriguez, 943 F.2d 104, 108 (1st Cir. 1991). Sovereign immunity likewise

extends to state officials acting in their official capacity. Kentucky v. Graham, 473 U.S. 159, 166,



                                                        10
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 11 of 15                        PageID #: 84




(1985) (“an official-capacity suit is, in all respects other than name, to be treated as a suit against

the entity.”); Will, 491 U.S. at 71. “Unless a State has waived its Eleventh Amendment immunity

or Congress has overridden it . . . a State cannot be sued directly in its own name regardless of the

relief sought.” Graham, 473 U.S. at 167 n.14. Further, while there are limited circumstances in

which state officials may be sued for prospective injunctive relief despite Eleventh Amendment

immunity, Town of Barnstable v. O’Connor, 786 F.3d 130, 138 (1st Cir. 2015), the Amended

Complaint lacks the necessary factual allegations to fit within this narrow exception because it

does not allege an ongoing violation of federal law. See Papasan v. Allain, 478 U.S. 265, 278

(1986); Massachusetts ex rel. Powell v. Holmes, 546 F. Supp. 3d 58, 72 (D. Mass. 2021). Plaintiff

seeks redress for an alleged wrongful termination that occurred more than a year ago, in September

2021, and not for an ongoing wrong. See Hamilton v. Lajoie, 660 F. Supp. 2d 261, 264 (D. Conn.

2009) (“despite the reference to [declaratory relief Plaintiff is not] seeking prospective injunctive

or declaratory relief under the Ex parte Young doctrine”); Donald M. v. Matava, 668 F. Supp. 703,

706 (D. Mass. 1987) (“The Eleventh Amendment also bars suits against state officials for

declaratory relief for past unlawful conduct where there is no continuing violation and thus no

need for injunctive relief.”).

        Accordingly, Counts I and II of the Amended Complaint should be dismissed against UMS

and Count I of the Amended Complaint should be dismissed against Cummings in his official

capacity.

        b. Count I of the Amended Complaint Fails Against Cummings in His Personal
           Capacity Under Qualified Immunity3
        “Qualified immunity is a judge-made construct that broadly protects public officials from



3
         Unlike Count I, Count II of the Amended Complaint is only asserted against UMS, not Cummings
individually.

                                                      11
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 12 of 15                          PageID #: 85




the threat of litigation arising out of their performance of discretionary functions.” Bergeron v.

Cabral, 560 F.3d 1, 5 (1st Cir. 2009). To prevent the unnecessary litigation of claims from which

public officials are immune, “immunity is to be resolved at the earliest possible stage in litigation.”

Decotiis, 635 F.3d at 36. Qualified immunity “provides defendant public officials an immunity

from suit and not a mere defense to liability.” Maldonado v. Fontanes, 568 F.3d 263, 268 (1st Cir.

2009).

         The qualified immunity analysis requires assessing “(1) whether the facts alleged or shown

by the plaintiff make out a violation of a constitutional right; and (2) if so, whether the right was

‘clearly established’ at the time of the defendant's alleged violation.” Maldonado, 568 F.3d at 269.

“Courts may conduct this inquiry sequentially, or resolve a particular case on the second prong

alone.” Barton v. Clancy, 632 F.3d 9, 22 (1st Cir. 2011). The “clearly established” prong has two

elements: “(1) the clarity of the law at the time of the alleged civil rights violation, and (2) whether,

given the facts of the particular case, a reasonable defendant would have understood that his

conduct violated the plaintiff’s constitutional rights.” Id. (citation and internal alterations omitted).

“[T]he salient question is whether the state of the law at the time of the alleged violation gave the

defendant fair warning that his particular conduct was unconstitutional.” Id.; see Decotiis, 635

F.3d 37 (“plaintiff must point to controlling authority or a body of persuasive authority, existing

at the time of the incident, that can be said to have provided the defendant with ‘fair warning.’”).

“In recent years, the Supreme Court has . . . emphasiz[ed] that [the] clearly established [standard].

. . should not be defined at a high level of generality . . . [and] does not require a case directly on

point [but] existing precedent must have placed the statutory or constitutional question beyond

debate.” Thomas v. Town of Chelmsford, 267 F. Supp. 3d 279, 304 (D. Mass. 2017) (collecting

cases) (internal quotations omitted and emphasis added).



                                                       12
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 13 of 15                     PageID #: 86




       Assuming arguendo that Plaintiff has alleged factual allegations demonstrating Cummings

violated a constitutional right, Cummings is entitled to qualified immunity. At the time of the

alleged action, a reasonable official would not have clearly understood that such an action was

unconstitutional beyond debate. Given Plaintiff’s allegations and the merged documents the Court

can consider, the relevant question for qualified immunity purposes is whether during the time

span of August 24, 2021 through September 24, 2021, Plaintiff had a clearly established right to

advocate against and seek the justifications for a university’s indoor masking policy in the midst

of a global pandemic such that it would have been clear to Cummings that he could not take adverse

employment actions for such conduct by an employee. See Falmouth Sch. Dep’t v. Mr. Doe, No.

2:20-cv-00214-GZS, 2021 WL 4468904, at *3 (D. Me. Sept. 29, 2021) (reconstructing relevant

question for purposes of qualified immunity analysis). Given the circumstances of the alleged

violation and the state of the law during the pandemic, it is not at all clear that Cummings should

have known, let alone obviously understood, that taking such actions would be a violation of the

law. See Davis v. Scherer, 468 U.S. 183, 195 (1984) (“The doctrine of qualified immunity may

protect all but the plainly incompetent or those who knowingly violate the law”) (internal

quotations omitted).

       Accordingly, to the degree Count I of the Amended Complaint is not dismissed on other

grounds, Cummings is entitled to qualified immunity for Plaintiff’s First Amendment retaliation

claim against him in his personal capacity.

3. Plaintiff is Precluded from Recovering Punitive Damages Under Title VII and the MHRA
   against UMS as a Government Entity

       In both Count III (Title VII) and Count IV (MHRA) of the Amended Complaint, Plaintiff

seeks punitive damages. Am. Compl. ¶¶ 48-60. However, because UMS is a government entity,

punitive damages are not available under either statute.

                                                    13
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 14 of 15                    PageID #: 87




       Title VII specifically precludes an award of punitive damages against a “government

agency.” See 42 U.S.C. § 1981a(b)(1) (“A complaining party may recover punitive damages under

this section against a respondent (other than a government, government agency or political

subdivision)”) (emphasis added); Collazo-Rosado v. Univ. of Puerto Rico, 775 F. Supp. 2d 376,

388 (D.P.R. 2011). Therefore, the claims for punitive damages in Count III of the Amended

Complaint must be dismissed. Likewise, Plaintiff may not recover punitive damages against UMS

under the MHRA. Section 4613(2)(B)(8)(i) of the MHRA expressly precludes a plaintiff from

recovering punitive damages against a “governmental entity.” See 5 M.R.S.A. § 4613(2)(B)(8)(i)

(“Punitive damages may not be included in a judgment or award against a governmental entity, as

defined in Title 14, section 8102, subsection 2”) (emphasis added).

       Accordingly, Plaintiff cannot recover punitive damages for either of her claims under Title

VII and the MHRA, and these requests should be dismissed.

                                          Conclusion

       For the foregoing reasons, Defendants respectfully request that this Court grant

Defendants’ Partial Motion to Dismiss, dismiss Counts I-II of the Amended Complaint, and

dismiss Plaintiff’s request for punitive damages under the Title VII and MHRA, with prejudice,

and enter judgment in Defendants’ favor on these claims and requests.

Dated: October 28, 2022

                                                    /s/ Shiloh D. Theberge
                                                    Shiloh D. Theberge, Esq.
                                                    William J. Wahrer, Esq.
                                                    Attorneys for Defendants University of
                                                    Maine System, and Glenn Cummings

                                                    BERNSTEIN SHUR
                                                    100 Middle Street, P.O. Box 5029
                                                    Portland, ME 04104

                                                   14
Case 2:22-cv-00212-JDL Document 17 Filed 10/28/22 Page 15 of 15        PageID #: 88




                                         (207) 774-1200
                                         stheberge@bernsteinshur.com
                                         wwahrer@bernsteinshur.com




                                        15
